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                    Exhibit D
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                             Chairman’s Remarks
                             Board of Trustees Meeting
                                  December 3, 2021



Good morning everyone, I’m so glad to see you all here today. I hope

you had a restful Thanksgiving and that you were able to take time to

reflect on how much we all have to be grateful for.

One of the things for which I’m grateful is the opportunity to serve as

chair of the Board of Trustees for this wonderful university.

It is truly a privilege, and my top goal is to live up to the expectations

and responsibilities that come with the job.

Those expectations, by law, include setting policy for the university and

ensuring the efficient and effective use of our university’s resources.

I owe the university nothing less than my best, and I know my fellow

trustees feel the same way.

Today, I have something on my mind that I feel is important to address.


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It is an issue that you all have seen quite a bit about in the news.

I’m speaking about the issue of conflicts of interest and outside

activities.

While I strongly support a free and independent press and I have great

respect for professional and responsible journalists, the stories in the

media about this issue have been incomplete.

This morning, I would like to set the record straight and give you the

rest of the story.

Let me begin by reminding my fellow trustees, the cabinet and our

faculty and staff why we are here.

Several years ago, the Ford Motor Company ran an advertising

campaign with the tagline “Quality is Job 1.”

Here at the University of Florida, we also have a “Job 1.” For us, Job 1 is

educating our students.


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Every single thing we do –


  • as a board,

  • as an administration,

  • as faculty,

  • as University of Florida employees and officials –


Everything MUST have our students as our number one priority.


Our job is to give our amazing students a top-five university education –


* to teach them,


* advise them,


* mentor them,


* allow them to explore opportunities,


* expose them to a wide range of ideas and



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* to give them the tools they need to go out into the world and be

successful in life.


As a board of trustees, we are responsible for implementing and

maintaining the highest quality of educational programs consistent with

the university’s mission.


As a board, we are fiduciaries – meaning that we put our students’

interests ahead of our own and we hold a position of trust to always do

what is best for the university and its mission.


In this regard, we are responsible for developing policies and standards

that uphold the mission we serve.


Not only do we have amazing students, we also have amazing faculty

members who are here to


  • teach our students,

  • engage them in research,

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  • mentor and advise them.


Make no mistake - the overwhelming majority of our faculty relish this

role and live every day to fulfill it.


They are providing our students a Top 5 university education and – in

countless cases across UF’s footprint – are making research discoveries

that are


  • saving lives,

  • improving our quality of life, and

  • expanding how we think about the world.


Unfortunately, we learned a couple years ago, that we had a small

number of faculty members who were not carrying out the

responsibilities of their jobs here.


They were not putting the students first.



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In fact, they were using university time, resources, and sometimes even

our students to benefit outside jobs and positions from which the

faculty were personally profiting directly.


It was the discovery of what a small group of faculty members were

doing at UF, and at other universities across the nation, that prompted

us to revise our outside activities policy.


Although we’ve talked about this before, here’s a reminder about how

it all started.


Back in August 2018, universities around the country began receiving

letters from the National Institutes of Health indicating that certain

faculty members may be improperly profiting from secondary

employment, that was undisclosed to their own employers.


Those faculty members were spending much time away from their

responsibilities at their home institutions at which they were employed


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to work full-time and were sometimes working with organizations that

constitute a conflict of interest.


In January 2019, UF received such a letter from the NIH identifying two

faculty members that NIH had reason to believe were spending

significant time engaged in these outside activities that they

intentionally did not disclose, instead of spending their time working

for the University of Florida that was paying their full-time salary.




As university officials charged with responding to the NIH began looking

into these issues, they discovered additional individuals who were

engaged in undisclosed second jobs and who, once reviewed, had spent

only minimal time at the university over the course of years – all the

while being paid by UF to be full-time faculty here.




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The university’s regulations mirror the federal government’s

requirement that researchers should not simultaneously be pursuing

competing endeavors.


As UF was learning about these faculty members who were


  • moonlighting across the world and

  • not disclosing their outside activities to UF and

  • sometimes not in their classrooms or their labs for many months

    out of the year…


we realized we needed to make improvements to the outside activities

approval process and the monitoring of time commitments.


We undertook the long, thorough and thoughtful work of improving

that process and ensuring that the faculty across the university and

their department chairs and deans were provided with ample




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opportunity for input and comments into the revised outside activities

policy.


In 2020, the university board approved the updated policy and the

university was able to apply it to all of those employees not within the

union.


The faculty union voted to approve and ratify the policy in July 2021

through an extensive negotiating and bargaining process.


Again - that new outside activities policy approved by the faculty union

is the same one that has come under scrutiny in relation to some faculty

members who disclosed outside activities requests to testify as expert

witnesses in litigation in which the state of Florida is a party.


The catalyst for the 2020 revisions to the outside activities policy at UF

had nothing to do with the First Amendment or academic freedom.




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On the contrary, we as the board and the administration absolutely

support the First Amendment rights of our faculty and their academic

freedom to


  • teach,

  • research,

  • publish, and

  • exercise their rights as citizens.


We know it is core to our mission and we absolutely believe in that.


The catalyst for the policy changes had EVERYTHING to do with making

sure federal, state, and university resources are being used for their

intended purpose and not for purposes unrelated to the university of

Florida or for personal gain.




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We have spent much effort ensuring that our policies and regulations

protect the rights of our professors and promote the expression of all

viewpoints.


And, I will repeat that the overwhelming majority of our faculty are

here for the reasons we are:


  • to educate,

  • research and

  • serve the University of Florida as their employer.


However, we saw that some have taken advantage of their positions.


  • I am speaking here of faculty members taking second jobs using

    the university’s state resources for their own personal gain.

  • I am speaking about faculty members who use their positions of

    authority to improperly advocate personal political viewpoints to

    the exclusion of others.


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  • I am speaking about a department chair who tried to find a way for

     his faculty to avoid coming into the classrooms by suggesting they

     limit their in-person seating to one or two students, in an apparent

     effort to dodge Board of Governors guidance.


To this I say – enough.


This behavior is unacceptable.


It is disrespectful not only to the taxpayers of Florida, whose hard-

earned dollars pay faculty salaries, but it is also disrespectful to these

faculty members’ hard-working colleagues – the ones who are doing

their jobs honestly and fulfilling their missions.


And importantly – it is disrespectful to the students who depend on

their professors’ full attention and commitment.


This. Will. Not. Stand.
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It must stop, and it WILL stop.


If you allow something to happen, that means you condone it.

Enough.

Let me tell you, our legislators are not going to put up with the wasting

of state money and resources, and neither is this board.

And we shouldn’t.


We are accountable to our students and their families and the

taxpayers to do our jobs.

I am also personally very disappointed in local faculty union leadership

who are actively encouraging donors to stop contributing to the

university and who are actively encouraging university presidents and

provosts around the country to downgrade their reputation assessment

of the University of Florida in rankings surveys.


All of that damages their fellow faculty members and the students we

serve.
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We have fought so hard over the years

  • to get funding so our faculty could have raises,

  • so our students could have good housing,

  • so our employees’ families could have day care through Baby

    Gator.

  Think of everything we’ve been able to accomplish during the past

  five years to rebuild our infrastructure and establish world-class

  learning and research facilities so our faculty can engage in

  interdisciplinary work and our students can experience a state-of-

  the-art campus.

  • Our Faculty 500 hiring initiative,

  • the AI 100 faculty hiring initiative,

  • Malachowsky Hall for Data Science & Information Technology,

  • a brand-new home for the Student Health Care Center,

  • the new Gator Village honors and undergraduate housing – and the

    list goes on.
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These things were all made possible through the support of our state

leaders.

  • Our Speaker of the House, Chris Sprowls, led an initiative to

    provide UF with $200 million for the education of our state’s youth

    and has entrusted UF to carry out this important program that will

    ensure all of our children are able to read.

  • Our Senate President, Wilton Simpson, committed $20 million per

    year to UF to lead the state and the country in Artificial

    Intelligence.

  • That will mean $200 million over the next ten years for our AI

    initiative.

  • Our Governor and his team paved the way for UF to take over the

    world-class Scripps Research Institute.

  • Our state leaders understand how important these things are, and

    they have followed through when we have asked.


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And, while the media has suggested that the Governor has played some

role through his relationship with me in UF’s decisions on outside

activities and conflicts of interest, let me be clear:

That is 100% false. Neither I, any other member of this board, the

governor, nor any legislator had any influence on specific decisions on

outside activities and conflicts of interest. Period.

The first I learned about these decisions was when I read the story in

the newspaper.

While, of course, in my role as board chair I have conversations with the

Governor. In fact, my conversations with the Governor have been

about ONE thing and ONE thing only – asking him to help UF to become

one of the leading universities in the country.

And, the Governor has done exactly that in response.



Our state leaders are the

  • protectors of the taxpayers of the state of Florida,
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  • they have entrusted UF with hundreds of millions of those dollars,

     and

  • they are also fed up with the waste of those dollars by the few

     who are misusing their positions or aren’t doing the jobs they were

     hired and committed to do.

  • And, our job, as trustees, as fiduciaries, is to ensure that UF is

     fixing problems where they exist and that these state funds that

     our leaders have entrusted to UF are being used to support our

     most important and No. 1 asset --- our students.


It is time to stand up for what is right and to put a stop to what is

wrong.


We owe nothing less to our students, to the overwhelming majority of

our faculty and staff, and to our fellow Floridians.


And now, my friends, let us move forward with doing the business of

this great university and Job 1: taking care of our students.
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